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 1   COSCA LAW CORPORATION
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 4   Attorney for Defendant
     WAYNE ARTHUR YORK
 5
 6                               IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                             )    No. 2:16-CR-00092-JAM
                                                           )
10                  Plaintiff,                             )    ORDER EXONERATING BAIL
                                                           )    AND RECONVEYING DEED OF
11          vs.                                            )    TRUST
                                                           )
12   WAYNE ARTHUR YORK,                                    )
                                                           )
13                                                         )
                    Defendant.                             )
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15
            The Defendant, WAYNE ARTHUR YORK, having been sentenced to time served on
16
     November 17, 2020, and good cause appearing:
17
            IT IS ORDERED THAT:
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            The Deed of Trust previously posted as security in this matter is hereby exonerated. Said
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     Deed of Trust is attached hereto as Exhibit A. The Clerk of the Court or designee is directed
20
     forthwith to exonerate the bail posted herein and prepare and cause to be filed a Deed of
21
     Reconveyance as necessary to fully exonerate bail.
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23
     DATED: December 1, 2020                         /s/ John A. Mendez
24                                                   THE HONORABLE JOHN A. MENDEZ
25                                                   UNITED STATES DISTRICT COURT JUDGE
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